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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


   THE TRANSPARENCY PROJECT,

             Plaintiff,

   vs.
                                                         Case No. 4:20-cv-447-SDJ
   UNITED STATES DEPARTMENT OF
   JUSTICE, et al.,

            Defendants


     PLAINTIFF’S RESPONSE IN OPPOSITION TO NON-FBI DEFENDANTS’
   MOTION FOR SUMMARY JUDGMENT and PLAINTIFF’S CROSS-MOTION FOR
                        SUMMARY JUDGMENT

         NOW COMES The Transparency Project, the Plaintiff, responding in opposition to the

 Non-FBI Defendants’ Motion for Summary Judgment (“MSJ”) (Doc. No. 51) and cross-moving

 for summary judgment:

                                           Introduction

         For the reasons set forth in the Unopposed Motion for Extension of Time (Doc. No. 58),

 Plaintiff’s Counsel was unable to complete the Plaintiff’s response in opposition to the MSJ. The

 Plaintiff will therefore address some of the most important issues raised in the MSJ. If the Court

 grants permission, the Plaintiff will address the remaining issues in an amended response / cross-

 motion.

         Before proceeding further, the Plaintiff should address an important housekeeping matter.

 According to some authority, a FOIA plaintiff may rely on newspaper articles to establish facts

 relevant to a motion for summary judgment. See, e.g., Elec. Frontier Found. v. Dep't of Justice,




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 532 F. Supp. 2d 22, 23 (D.D.C. 2008)(considering Washington Post article but holding that it

 was insufficient grounds for reconsideration).

        To be sure, none of [the newspaper articles and human rights reports] ha[ve] been tested
        and proved in a court of law. But SafeCard requires only “compelling” evidence—not
        tested evidence, and not even evidence that would be admissible at trial. If hundreds of
        pages of first-hand reports of governmental abuses do not qualify as “compelling”
        evidence sufficient to justify an investigation into the government's conduct, then I
        cannot imagine what would. After all, FOIA's purpose, as SafeCard recognizes, is to
        allow the public access to records necessary to ascertain whether the government has
        acted illegally. If requesters already had tried and tested proof of such illegal activity,
        then resort to FOIA would be unnecessary. History, moreover, is full of examples of
        situations in which just these sorts of allegations led to the discovery of serious
        government wrongdoing—from Teapot Dome in the 1920s to the FBI's COINTELPRO
        counterintelligence program in the 1960s to Watergate in the 1970s.

 Ctr. for Nat. Sec. Studies v. U.S. Dep't of Justice, 331 F.3d 918, 946–47 (D.C. Cir. 2003)(J.

 Tatel, dissenting); see also id. at 930 (majority citing newspaper article); but see Schoenman v.

 F.B.I., 763 F. Supp. 2d 173, 201 (D.D.C. 2011), aff'd, 841 F. Supp. 2d 69 (D.D.C. 2012)(refusing

 to consider newspaper article).1 In this cross-motion, the Plaintiff seeks discovery from the

 Defendants. If nothing else, the news articles are relevant to show that the Plaintiff is neither

 acting on a blind hunch nor pursuing a wild goose chase. See, e.g., Rainsy v. Facebook, Inc., 311

 F.Supp.3d 1101, 1109 (N.D. Cal. 2019) (court relied in part on newspaper articles when deciding

 whether to permit discovery). On the contrary, the matters before the Court are ones of

 significant public interest and exceptional public importance.



 1
     The Plaintiff will also rely on reports from the U.S. Government, and those reports are
     admissible as evidence in any court proceeding against the U.S. Government. Harper v.
     United States Dep't of the Interior, No. 1:21-CV-00197-CRK, 2021 WL 5281589, at *6 (D.
     Idaho Nov. 12, 2021)(public document admissible under Fed. R. Evid 201(b); 801(d);
     801(c)(2)(A)–(D); and 901(b)(1) and (7)); see also Mezerhane de Schnapp v. United States
     Citizenship & Immigration Services, 67 F. Supp. 3d 95, 107–08 (D.D.C. 2014)(out-of-court
     statements by government employees acting within the scope of their employment were not
     hearsay and were admissible at summary judgment stage of FOIA case).



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                                             Argument

 (1) The Defendants’ brief and declarations were conclusory.

        The government cannot prevail on summary judgment in a FOIA case when its

 declarations are conclusory or lack detail. See, generally, Shapiro v. United States Dep't of

 Justice, 507 F. Supp. 3d 283, 339 (D.D.C. 2020) (recounting long history of conclusory

 declarations from the FBI and denying summary judgment) and Defs. of Wildlife v. U.S. Border

 Patrol, 623 F. Supp. 2d 83, 92 (D.D.C. 2009) (summary judgment denied where declarations

 lacked detail).

       Because a fundamental principle behind FOIA “is public access to government
       documents,” courts require “agencies to make more than perfunctory searches and, indeed,
       to follow through on obvious leads to discover requested documents.” Valencia-Lucena v.
       U.S. Coast Guard, 180 F.3d 321, 325 (D.C. Cir. 1999), citing John Doe Agency, 493 U.S.
       at 151, 110 S.Ct. 471 and Campbell v. DOJ, 164 F.3d 20, 28 (D.C. Cir. 1998). Therefore,
       an agency only “fulfills its obligations under FOIA if it can demonstrate beyond material
       doubt that its search was ‘reasonably calculated to uncover all relevant documents.’ ” Id.,
       quoting Truitt v. Dep't of State, 897 F.2d 540, 542 (D.C. Cir. 1990); see also Oglesby, 920
       F.2d at 68. Although there “is no requirement that an agency search every record system,”
       an agency “cannot limit its search to only one record system if there are others that are
       likely to turn up the information requested.” Oglesby, 920 F.2d at 68.

 Watkins Law & Advocacy, PLLC v. United States Dep't of Veterans Affairs, 412 F. Supp. 3d 98,

 117 (D.D.C. 2019). The mere fact that the declarations fail to identify the search terms used for

 some of the Plaintiff’s requests is fatal to the MSJ. SAI v. Transp. Sec. Admin., 315 F. Supp. 3d

 218, 247 (D.D.C. 2018) (government declaration was inadequate where it did not identify search

 terms) and Manatt v. United States Dep't of Homeland Sec., 473 F. Supp. 3d 409, 416–17 (E.D.

 Pa. 2020) (government’s declaration was inadequate where it did not identify the search terms

 used or the custodians or systems searched).

        “An agency withholding responsive documents from a FOIA release bears the burden of
        proving the applicability of claimed exemptions,” typically through affidavit or
        declaration. DiBacco, 795 F.3d at 195 (quoting ACLU v. Dep't of Def., 628 F.3d 612, 619
        (D.C. Cir. 2011)). “Summary judgment is warranted based on the agency's affidavit if it


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         ‘describes the justifications for withholding the information with specific detail,
         demonstrates that the information withheld logically falls within the claimed exemption,
         and is not contradicted by contrary evidence in the record or by evidence of the agency's
         bad faith.’ ” Id. at 196 (quoting ACLU, 628 F.3d at 619).

 DiBacco v. Dep't of the Army, 926 F.3d 827, 834 (D.C. Cir. 2019)(emphasis added). Even with

 respect to purely legal issues, the MSJ and the declarations make legal assertions without any

 citation to authority.

 (2) The Defendants improperly issued Glomar responses.

         Many of the Defendants’ responses to the FOIA requests were “neither confirm nor

 deny” answers asserted based national security considerations, a.k.a., “Glomar responses.” The

 Plaintiff does not dispute the fact that classified information is exempt from FOIA. The question

 in this case is whether any such documents are legitimately classified.

         Section 1.7 of Executive Order 13,526 bars classifying information in order to conceal
         violations of the law. Exec. Order 13,526 § 1.7(1), 75 Fed. Reg. 707 (Jan. 5, 2010). A
         plaintiff alleging that an agency has classified information to conceal a violation of law
         “must provide something more than conjecture to show that the agency's withholding
         decision violates Executive Order 13,526.” Associated Press v. FBI, 265 F. Supp. 3d 82,
         96–97 (D.D.C. 2017). Credible evidence is required. See Canning v. U.S. Dep't of Just.,
         848 F. Supp. 1037, 1047–48 (D.D.C. 1994) (rejecting plaintiff's challenge where plaintiff
         presented claims “based primarily on speculation” and failed to present “credible
         evidence that the agency's motives for its withholding decisions were improper
         or *98 otherwise in violation of E.O. 12356”).

 Smith v. United States Nat'l Archives & Records Admin., 415 F. Supp. 3d 85, 97–98 (D.D.C.

 2019). Section 1.7 is actually broader than Smith suggests. “In no case shall information be

 classified, continue to be maintained as classified, or fail to be declassified in order to: (1)

 conceal violations of law, inefficiency, or administrative error; (2) prevent embarrassment to a

 person, organization, or agency; (3) restrain competition; or (4) prevent or delay the release of

 information that does not require protection in the interest of the national security.” Exec. Order

 13,526 § 1.7(a).



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        The government’s assertions about Section 1.7(a) are facially untrue. Pages 4-6 of the

 MSJ recount numerous requests directed at the CIA concerning its domestic activities, e.g.,

 surveillance of journalists in the United States. By statute, the CIA “shall have no police,

 subpoena, or law enforcement powers or internal security functions.” 50 USC § 3036(d)(1); see

 also 50 USC § 3035(b) (explaining the function of the CIA). If the CIA is surveilling journalists

 in the United States, then the CIA is likely engaged in illegal activity. Id. Accordingly, any

 records of such activity could not be classified. Executive Order 13,526 §1.7(a)(1). 2 It is likewise

 doubtful that the CIA would have a legitimate national security interest in surveilling U.S.

 journalists, thus the information should not be declassified on that basis. Id. at §1.7(a)(4).

 Finally, revelations that the CIA surveilled U.S. journalists likely would be very embarrassing to

 the agency, and records cannot be classified on that basis. Id. at §1.7(a)(2).

        More obvious cases of improper Glomar responses can be found in the various responses

 to the Plaintiff’s requests about whether the U.S. Government inserted “Russian fingerprints”

 into emails that were hacked or leaked from the Democratic National Committee (“DNC”) in

 2016. See MSJ 3-4, ¶1; 6, ¶1; and 8, ¶1. As the Court is almost certainly aware, the “Russian

 collusion” scandal consumed Congress and the Executive Branch throughout most of the Trump

 Administration. See, generally, Special Counsel Robert S. Mueller, III, Report On The

 Investigation Into Russian Interference In The 2016 Presidential Election (“Mueller Report”),

 March 2019, U.S. Department of Justice

 (https://www.justice.gov/archives/sco/file/1373816/download). “DCLeaks” and “Guccifer 2.0”

 were alleged to be pseudonymous Russian entities, and they were blamed for stealing and



 2
  At the very least, the CIA should not be permitted to categorically refuse to confirm or deny
 whether it has surveilled any journalists in the United States.


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 distributing the DNC emails, a fact reflected in U.S. Government documents and the Defendants’

 own evidence. See Doc. No. 52-1, pp. 920-921 and Mueller Report, Vol. I, pp. 4, 36, 41-49, 65,

 and 176. Likewise, COZY BEAR and FANCY BEAR purportedly were Russian entities

 involved in hacking the DNC emails. See Garrett M. Graff, “Indicting 12 Russian Hackers Could

 Be Mueller's Biggest Move Yet,” July 13, 2018 Wired (https://www.wired.com/story/mueller-

 indictment-dnc-hack-russia-fancy-bear). Based on a tip, the Plaintiff requested records to

 determine whether DCLeaks, Guccifer 2.0, COZY BEAR, and FANCY BEAR were fabricated

 by U.S. intelligence agencies for domestic political purposes, namely to undermine (and

 potentially overthrow) the President of the United States with accusations that he “colluded”

 with Russia.

        One would expect the CIA, NSA, and ODNI to loudly and vehemently deny that they

 would ever do such a thing. Instead, they issued Glomar responses, refusing to confirm or deny

 that they have any responsive records. They cannot escape accountability so easily. For starters,

 any such activity on the part of the intelligence agencies would be flagrantly unlawful, thus

 classification would be prohibited by Section 1.7(a)(1). If government personnel attempted to

 undermine or overthrow a Presidential administration, then they violated the prohibition against

 rebellion and insurrection. See 18 U.S. Code § 2383. Likewise, they violated the Constitution

 insofar as all executive power is vested in the President of the United States, not a group of

 subversive bureaucrats whose authority legally derives from the President’s. See U.S.

 Constitution, Article II, Section 1. And if intelligence personnel helped the FBI secure search

 warrants for individuals like Carter Page when they knew the “Russian collusion” premise was

 false, see David Shortell and Evan Perez, “Two of four FISA warrants against Carter Page

 declared invalid,” January 23, 2020 CNN (https://www.cnn.com/2020/01/23/politics/fisa-carter-



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 page-warrants/index.html), then they violated the prohibition on maliciously procuring search

 warrants. See 18 U.S. Code § 2235. The intelligence agencies cannot hide such an illegal scheme

 beneath the veneer of classification. Exec. Order 13,526 § 1.7(a)(1). Similarly, there is no

 national security interest in trying to protect a corrupt domestic political scheme. Id. at

 §1.7(a)(4). And although the revelation of such a scheme would be extraordinarily embarrassing

 to the intelligence agencies, that militates against classification. Id. at §1.7(a)(2).

         The National Security Division (“NSD”) also invoked Glomar improperly, but for a

 different reason: “NSD interpreted Plaintiff’s June 18, 2020 request to NSD seeking surveillance

 records of Edward Butowsky and Matt Couch as seeking NSD records regarding surveillance

 that, should they exist, would have been authorized under the Foreign Intelligence Surveillance

 Act of 1978 (FISA), codified at 50 U.S.C. § 1801, et seq.” MSJ 27. Nothing in the Plaintiff’s

 request supports such a narrow interpretation. By its plain terms, the Plaintiff’s request was not

 limited to records obtained via FISA. If the NSD obtained surveillance records from other

 sources, then those records should be identified and produced. And the Plaintiff is not asking

 NSD to disclose exactly how the records were obtained, e.g., by what particular technology. The

 Plaintiff merely requested what was in the records.

         Another example illustrates the Defendants’ misuse of classification. The CIA argues that

 it cannot be compelled to provide records about the DNC hack because if it “were to confirm the

 existence of records responsive to this item in the request, such confirmation would show that the

 Agency devoted resources to this subject and determined the cause of the 2016 data breach.”

 MSJ 42. This is completely disingenuous, because it is already matter of public record that the

 CIA devoted resources to this subject. See, e.g., Zack Beauchamp, “The key findings from the

 US intelligence report on the Russia hack, decoded,” January 6, 2017 Vox



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 (https://www.vox.com/world/2017/1/6/14194986/russia-hack-intelligence-report-election-

 trump). Similarly, the CIA claims it cannot disclose whether it surveilled Edward Butowsky of

 Texas or Matt Couch of Arkansas. MSJ 43. As explained above, the CIA has no authority to

 surveil U.S. citizens on U.S. soil, therefore it has no legitimate claim to an exemption.

 Elsewhere, the CIA claims that information must be withheld because it contains information

 about covert personnel, covert locations, intelligence methods and activities, classification and

 dissemination markings, and code words and pseudonyms, MSJ 68-73, but the CIA fails to

 explain why such information cannot be redacted. Likewise, it fails to explain why the

 information on pages 79-83 of the MSJ cannot be redacted. The CIA has therefore failed to meet

 its burden for withholding.

 (3) The National Security Agency and the National Security Act.

        The MSJ cites Section 6 the National Security Act of 1959, which states that “[n]othing

 in this chapter or any other law… shall be construed to require the disclosure of the organization

 or any function of the National Security Agency, or any information with respect to the activities

 thereof.” 50 USC § 3606. That certainly exempts some NSA records, but by no means all of

 them. The records sought by the Plaintiff may have originated with other agencies and yet found

 their way to the NSA, therefore such records would not disclose any function of the NSA or

 information about its activities. See Shapiro v. Cent. Intelligence Agency, 170 F. Supp. 3d 147,

 158–59 (D.D.C. 2016) (records in the possession of the NSA might not reflect the function or

 activities of the NSA). Accordingly, the NSA cannot categorically refuse to search for or

 produce records solely on the basis of 50 USC § 3606.




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 (4) The CIA waived its claim to legal privileges.

        On pages 75-79 of the MSJ, the CIA seeks exemptions on the grounds of the deliberative

 process privilege, the attorney work-product privilege, or the attorney-client privilege. The CIA’s

 arguments are entirely conclusory, and the MSJ does not provide a single source of legal

 authority for these arguments. The CIA claims, for example, that witness interview notes are

 subject to the deliberative process privilege, but it cites no authority. MSJ 76. Insofar as the CIA

 failed to properly brief these issues, they are waived. See Boggs v. Krum Indep. Sch. Dist., 376 F.

 Supp. 3d 714, 722 (E.D. Tex. 2019)(inadequately briefed arguments are waived).

 (5) The ODNI’s arguments are completely conclusory

        As noted above, “[a]n agency withholding responsive documents from a FOIA release

 bears the burden of proving the applicability of claimed exemptions…” DiBacco v. Dep't of the

 Army, 926 F.3d 827, 834 (D.C. Cir. 2019). The ODNI’s arguments are found on pages 83-86 of

 the MSJ, and they are completely conclusory. Accordingly, the ODNI has failed to meet its

 burden. Boggs, 376 F. Supp. 3d at 722.

 (6) The EOUSA has no basis for withholding records about Seth Rich.

        On pages 595-601 of the exhibits (Doc. No. 51-2), Kara Cain testifies about why the

 Executive Office for U.S. Attorneys refused to produce records about various individuals,

 including Seth Rich. The Plaintiff requests that the Court take judicial notice of the Plaintiff’s

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 Motion for Summary Judgment (Doc. No. 46), Brian Huddleston v. Federal Bureau of

 Investigation, et al., Case No. 4:20-cv-447-ALM (E.D. Tex.). The Department of Justice has a

 very poor track record when it comes to matters pertaining to Mr. Rich. As explained in the

 Huddleston motion, Mr. Rich is dead, thus he has very little privacy interest to protect. Ms.



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  Cain’s declaration offers a lot of conclusory statements about privacy, but those conclusory

  statement fail to meet the government’s burden for establishing an exemption.

  (7) In camera review is warranted.

         As the Huddleston motion explains, in camera review is by no means a given.

  Nonetheless, it may be appropriate where government defendants have demonstrated bad faith.

  Id. The Plaintiff avers that the Court should first reject the CIA’s, NSA’s, ODNI’s, and NSD’s

  improper Glomar responses and order them to search for and produce records that were

  improperly classified, e.g., records about DCLeaks, Guccifer 2.0, COZY BEAR and FANCY

  BEAR. The Court may then review the documents in camera and determine whether the

  Defendants have been acting in bad faith. If so, then the Court may order broader discovery.

                                             Conclusion

         The Defendants’ arguments are conclusory, and their Glomar responses, withholdings,

  and redactions are improper. The Court should order the Defendants to produce the requested

  documents for the Court’s review in camera, then the Court can determine whether to order

  additional discovery.

                                               Respectfully submitted,

                                               /s/ Ty Clevenger
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                                       Certificate of Service

          On April 5, 2022, I filed a copy of this response with the Court’s ECF system, which
  should result in automatic notification via email to Asst. U.S. Attorney Andrea Parker, Counsel
  for the Defendants, at andrea.parker@usdoj.gov.

                                              /s/ Ty Clevenger
                                              Ty Clevenger




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